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JS 44 (Rev. 06/17)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS
NEODRON LTD.                                                                                           Cypress Semiconductor Corp.


   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
Reza Mirzaie, Russ August & Kabat, 12424 Wilshire Boulevard, Suite
1200, Los Angeles, California 90025, (310) 826-7474.


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                         and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                           PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State           1              1   Incorporated or Principal Place          4      4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place          5          5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                            6          6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                         310 Airplane                     365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                       3729(a))
  140 Negotiable Instrument               Liability                   367 Health Care/                                                                                   400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                 Pharmaceutical                                                PROPERTY RIGHTS                  410 Antitrust
      & Enforcement of Judgment           Slander                         Personal Injury                                               820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’               Product Liability                                             830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                   368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
      Student Loans                  340 Marine                           Injury Product                                                    New Drug Application         470 Racketeer Influenced and
      (Excludes Veterans)            345 Marine Product                   Liability                                                     840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                  PERSONAL PROPERTY                       LABOR                      SOCIAL SECURITY                  480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle                370 Other Fraud              710 Fair Labor Standards             861 HIA (1395ff)                 490 Cable/Sat TV
  160 Stockholders’ Suits            355 Motor Vehicle                371 Truth in Lending              Act                             862 Black Lung (923)             850 Securities/Commodities/
  190 Other Contract                     Product Liability            380 Other Personal           720 Labor/Management                 863 DIWC/DIWW (405(g))               Exchange
  195 Contract Product Liability     360 Other Personal                   Property Damage               Relations                       864 SSID Title XVI               890 Other Statutory Actions
  196 Franchise                          Injury                       385 Property Damage          740 Railway Labor Act                865 RSI (405(g))                 891 Agricultural Acts
                                     362 Personal Injury -                Product Liability        751 Family and Medical                                                893 Environmental Matters
                                         Medical Malpractice                                            Leave Act                                                        895 Freedom of Information
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           FEDERAL TAX SUITS                    Act
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement              870 Taxes (U.S. Plaintiff        896 Arbitration
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act                   or Defendant)               899 Administrative Procedure
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              871 IRS—Third Party                  Act/Review or Appeal of
  240 Torts to Land                  443 Housing/                        Sentence                                                            26 USC 7609                     Agency Decision
  245 Tort Product Liability             Accommodations              530 General                                                                                         950 Constitutionality of
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                                                           State Statutes
                                         Employment                  Other:                        462 Naturalization Application
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration
                                         Other                       550 Civil Rights                  Actions
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding              State Court                            Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                     (specify)                        Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       35 U.S.C. §1 et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                       Patent infringement
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE See notice of related cases                                    DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
06/12/2020                                                           /s/ Reza Mirzaie
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE

               Print                               Save As...                                                                                                                Reset
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
